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                 IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA

                              CR-N0-09-567


                       UNITED STATES OF AMERICA

                                    v.
                        DERRICK ANTONIO TAYLOR


                            OBJECTION BRIEF




Mr.   Taylor,   in   objection,   would   announce    that,   absent     the
residual clause his sentence is void, and under, Alleyne, his
sentence under the ACCA is void, and hereafter, represent:
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       Mr.     Taylor,   objection    to       the Goverment's   invitation,    is
positioned through the principle of, Staples v. United States,
511    U.S.    600,   114 S.Ct.    1793,       128 L.Ed.2d 608    (1994),   which
addressed a federal statute criminalizing the possession of an
unregistered machine gun, the Court conveyed:
       while the federal statute contained no express mens rea
       requirement, the defendant claimed he was unaware the rifle
       he owned had been modified to fire automatically, and argued
       such knowledge was necessary to convict him under the
       statute. id. at 603, 114 s.ct. 1793
       The Court, examined whether Congress intended the statute to
       impose strict liability as to defendant's knowledge of the
       rifle's capability to fire automatcally.
       The Court mens rea requirement was traditionally required in
       criminal statutes; strict liability offenses are generally
       disfavored, and some indication of congressional intent to
       impose strict liability is required to dispense with mens
       rea. Id. at 605-06, 114 s.ct. 1793.
       In holding mens rea was required, the Court emphasized two
       factors. First the heavy penalty ••• and knowledg~, the nature
       of prohibited conduct ••• because Congress had not intended to
       impose strict liability, the Court held, mens rea was
       required for conviction. id at 619.
      The Government, would have this Honorable Court, corrupt its
jurisprudential values, and legislate from the bench, introducing
a new vagueness, a new aggravated offense.
      However, if this Honorable Court were to find some aspect of
the Governments position persuasive, Mr. Taylor, would challenge
the ACCA statute, and those prior convictions under, Alleyne v.
United States,        570 u.s._(2013), who announced that sentencing
factors created a new aggravated offense.
      According to,      INS v. Chadha,         103 S.Ct. 2764, 462 U.S.       919
(1983),      once injury in fact is demonstrated and a substantial
likelihood that the judicial relief requested will prevent or
redress the claimed injury, the matter can be heard, accord:

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       Ex ~arte Young, 28 S.Ct. 441, 209 U.S. 123 (U.S. Minn.
       1908 , a federal courtt in which is first raised the
       question of the validity, under federal law/constitution of
       a state statute, has the right to decide that question to
       the exclusion of the state court[s).
     The ACCA definition of a violent felony, has three parts, (1)
if it has an element the use, attempted use, or threatened use of
physical force against the person of another; (2) specify four
felonies, burglary, arson, extortion and offense with explosives;
and the defunct residual clause.
     §924(e)(2)(B)(ii), specifically names the four categories of
qualifying      felonies,    reflecting         strict    liability     upon     those
terms, here, Mr. Taylor, has a prior conviction for, conspiracy
to   ~ommi t   robbery, drug trafficking and a third degree murder,
none of which are enumerated               in    the     §924(e)(2)(B)(ii),       thus
absent the residual clause, his sentence is void.
     It is not only the improper posture of the Government, but Mr.
Taylor,      is contending    that his sentence is void,                absent the
residual clause.
       Mr.     Taylor,   would   further        object,    contending        continued
application of the ACCA, would be void for vagueness, first, the
remainder of the Act stands beyond the Congressional original
intent, specifically, (1) §924(e)(2)(i), if it has an element the
use, attempted use, or threatened use of phy$ical force against
the person of another; absent the residual clause, would require
men of common intelligence to guess at its meaning and differ
toward its application,          comparable to         the Government posture,
violating      the   first   essentials     of     due    process     law.    accord,
Johnson:

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        a statute is thus void for vagueness only if it wholly fails
        to provide a person of ordinary intelligence fair notice of
        what is prohibited, or so standardless that it authorizes or
        encourages seriously discriminatory enforcement. United
        States v. Williams, 553 u.s. 285, 304 (2008).
        The bar is even higher for sentencing provisions. The fair
        notice concerns that inform our vagueness doctrine are aimed
        at ensuring that a person of ordinary intelligence has
        reasonable opportunity to know what is prohibited, so that
        he may act accordingly ••• slip opp. p7
    Such context, effectuates Mr. Taylor, position, absent the
residual clause, a defendant of common intelligence would guess
at the meaning of what is prohibited, as the Government, have
fully demonstrated.
   In the alternative, Mr. Taylor, would challenge the ACCA under
Alleyne,       and   move   through   the   precepts   of,   Montgomery       v~

Louisianna, 577       u.s.~(2016),    who set precedent, clarifying for
the first time the proper application of the first exception set
forth     in     Teague,    eroding   settled    expectations     of       prior
conventions toward its application, and announced that:
        The Court now holds that when a new substantive rule of
        constitutional law controls the outcome of a case, the
        Constitution requires state collateral review courts give
        retroactive effect to that rule.
        Teague's conclusion establishing the retroactivity of new
        substantive rules is best understood as resting on
        constitutional premises. That constitutional command is,
        like all federal law, binding on state courts.
        This holding is limited to Teague's first exception for
        substantive rules ••• regardless of when the conviction became
        final.
   The Montgomery Court, clarified for the first time, the litmus
to determine a new substantive rule of constitutional law as
those exceptions announced through, Penry v. Lynaugh, 492                  u.s.
302, 330 (1989), that, the first exception set forth in Teague
should be understood to cover not only rules forbidding criminal


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punishment of certain primary conduct but also rules prohibiting
a     certain    categorical         punishment      for      a   class    of    defendants
because of their status or offense. 492 u.s. at 330.
        The Montgomery Court,            identifies,          that      the first      Teague
exception to determine a new substantive rule of constitutional
law as,       the    two   clauses      embodied         by   Penry v.      Lynaugh,      (1)
criminal        punishment      of   certain       primary conduct;             (2)   certain
categorical punishment               for a       class of defendants             because of
status or offense.
      As an initial matter, Mr. Taylor, urges consideration of the
fact that when, Apprendi, v. New Jersey, 530 U.S. 466, 120 S.Ct.
2348 (2000), and its progeny, Blakely v. Washington, 124 S.Ct.
2531 (2004), were announced, their announcements held that they
did     not      apply     to    indeterminate           sentencing        schemes       like
Pennsylvania, and those states with similar schemes, and were,
thus,     non-retroactive,           because      they    did     not    change criminal
procedure in the United States, based soley on the principle of
indeterminate sentencing.
        Pennsylvania's Mandatory Minimum Sentencing Act, Title 42
Pa.c.s.A.§§,        Subschapter B,        provisions were enacted March 8,
1982, and several Judges of the Courts of Common Pleas, held the
Act unconstitutional, resulting in, McMillan v. Pennsylvania, 477
U.S. 79, 86 (1986), who constitutionalized the Act, "conversion
of elements of an offense into "sentencing factors."
      Alleyne, in overruling Harris, announced that McMillan, was
erroneous and bad law, and overruled it, McMillan, which was not
the primary         target of Alleyne,            but was the primary point of

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departure     from      stare        decisis,        not    only   the     predictable
development, but complete erosion, of most of those principles of
law applied      by     the     prospect       of,    Apprendi,    especially    those
concerning retroactivity, of Alleyne.
   For such, Mr. Taylor, urges reconciliation with the fact that
McMillan, was a bedrock decision, that changed criminal procedure
in the United States, which, herald, the constitutionality, of
"converting elements of an offense into sentencing factors," and
set the paradigm for Mandatory Minimum Sentencing, in the United
States.
   Courts have held, that Alleyne, is an extension of Apprendi,
which was decided under the Fourteenth & Sixth Amendment, thus,
part      substantive         and    procedural,           which   did     not   apply
retroactively,        because       it   could       not   apply   to    indeterminate
sentencing schemes, however, Alleyne, applies to all sentencing
schemes, and as for those prospects against retroactivity based
upon Apprendi prior            failure,     are misplaced,         because Alleyne,
proffers a defacto retroactive effect, demonstrated by states
like Pennsylvania, who were protected under, McMillan, and now
under the grip of Alleyne.
   It is thus, the absence of Mc.Millan, that has changed criminal
procedure in those states with indeterminate sentencing schemes,
and the turning point in the predictable development of mandatory
minimum sentencing, thus, a watershed rule of Alleyne.
   Under the first clause (1), Alleyne, announced that sentencing
factors "created a new aggravated offense," thus, identifying,
primary conduct, a new substantive offense.

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             Under the first clause, Mr. Taylor, would contend that under,
        Alleyne, the Court has lost the constitutional authority to link
        punishment to primary conduct, and therein voiding any continued
        aqpplication of a sentence against him.
              1 Wayne R. LaFave, Substantive Criminal Law §1. 2(d), at 17
        (2003), announca a, crime is made of two parts, forbidden conduct
        and a prescribed penalty. The former without the latter is no
        crime.
             Mr. Taylor, positions, that absent statutory authority to link
        punishment to primary eonduet, the former without the latter is a
        nullity, a statute void cannot stand as law, Marbury, 1 (Cranch
        37), absent the residual clause the ACCA is void.
             The second clause (2) prohibits certain categorical punishment
        for a class of defendants because of their status or offense.
                The ACCA, targets of fenders based on their status as prior

        eonvieted felons, however, absent the residual clause of ACCA,
        that target is forbidden, thus, there is no nexus between the
        crime Mr. Taylor was tried for and the categorical aggravated
        punishments of the ACCA.
                The Alleyne,    Court announced that sentencing factors,            in
        effect, were, new aggravated offenses, and therein, identified
        primary conduct, a substantive rule, Rlng v, Arizona, 122                s.ct.
        2438,    536   u.s.   584   (2002),   who has defaeto application and,
        explains:
                if the legislature defines some core crime and provide for
                increasing   the punishment of      that crime upon some
                aggravating fact. That core crime and the aggravating fact
                is an element of an aggravating crime.
              It is upon these principles Mr. Taylor, would rely upon in

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objection to the Goverment invitation, and herein, preserve his
standing to challenge his prior convictions, under Alleyne, to
the exclusion of the state, which is supported under Rule 15(c)
Amendment, and Third Circuit, FRAP. 44(8), standing.


Wherefore~     Mr. Taylor, prays for that relief that law and justice
require.


DATED: AiP..'J.lo ,J.olb                            RESPECTFULLY SUBMITTED
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                        CERTIFICATE OF SERVICE
I, DERRICK ANTONIO TAYLOR, HEREBY CERIFY THAT I AM THIS ~Ot~ DAY
OF AUG. 2016, SERVING LEGAL DOCUMENTS UPON THE PARTIES AS LISTED
BELOW:


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